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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.: 21-cv-23861

 10 MINUTE FITNESS INC. d/b/a
 ZAAZ, and T-ZONE HEALTH, INC.

         Plaintiffs,
 v.

 AMENTUM SERVICES, INC.,
 f/k/a URS FEDERAL SERVICES, INC.

       Defendant.
 ____________________________________/

                                           COMPLAINT

         COMES NOW, Plaintiffs, 10 MINUTE FITNESS INC. d/b/a ZAAZ, and T-ZONE

 HEALTH, INC., by and through its attorneys, Spector Rubin, P.A., and files its Complaint against

 the Defendant, AMENTUM SERVICES, INC., f/k/a URS FEDERAL SERVICES, INC., and

 states as follows:

                                  JURISDICTION AND VENUE

      1. At all material times, Plaintiff, 10 MINUTE FITNESS INC. d/b/a ZAAZ (hereinafter

         “ZAAZ”) was and is a Texas corporation with its principal place of business in California.

      2. At all material times, Plaintiff, T-ZONE HEALTH, INC. (hereinafter “TZONE”) was and

         is a Canadian corporation with its principal place of business in Ontario, Canada.

      3. Upon information and belief, Defendant AMENTUM SERVICES, INC., f/k/a URS

         FEDERAL SERVICES, INC. (hereinafter “URS”) was and is a Delaware corporation with

         its principal place of business in Maryland.

      4. This Court has jurisdiction based upon 28 U.S.C § 1332, as it is an action between citizens

         of different states and/or between citizens of a State and citizens of a foreign State and the

         amount in controversy exceeds $75,000.00 exclusive of interest and costs.
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    5. This Court has personal jurisdiction over URS, since URS engages in systematic and

       continuous business in this State, maintains a registered agent and offices in this State,

       committed tortious acts within this State.

    6. Venue is appropriate in this district as the acts or omissions complained of took place in

       this district.

    7. All conditions precedent have been met or waived.

                                    STATEMENT OF FACTS

    8. Plaintiff ZAAZ is the industry leader in Whole Body Vibration technology (“WBV”).

    9. ZAAZ machines are FDA listed as Class I Medical Device and Powered Exercisers.

    10. ZAAZ primarily markets the machines by conducting limited-engagement events in the

       stores of major national retailers, such as Costco and Sam’s Club.

    11. ZAAZ sends its sales representative into the stores of its retail partners to demonstrate

       ZAAZ technology to their customers.

    12. ZAAZ sells through their registers and its own ecommerce website.

    13. ZAAZ does not distribute or sell wholesale to other resellers or sell on third-party websites.

    14. ZAAZ features only one model of machine, the ZAAZ 20K WBV machine, which it has

       been selling since 2011.

    15. Between April 2017 and June 2017 US Customs and Border Protection (“CBP”) seized 3

       containers (2 from Savannah, 1 from Miami), each containing 225 ZAAZ 20K machines,

       claiming counterfeit trademark due to an alleged improper depiction of a UL certification

       number stamped on the base of each machine.

    16. These cases are referenced as 2017-1703-000157-01; 2017-1703-000158-01; and 2017-

       1703-000236-01.

    17. The machines were purchased by TZONE.


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    18. The UL number was an accurate registration number of the safety certification of the plastic

       of the base case, but since ZAAZ machines themselves are CSA-certified instead of UL-

       certified, CBP claimed that the presence of the stamped UL # was misleading and

       inappropriate.

    19. ZAAZ tried in vain to get CBP to agree to allow ZAAZ to correct the mistake (which had

       occurred at the factory level without ZAAZ’s knowledge) by simply removing the stamp

       with solvent, painting over it, or even swapping all the base cases altogether.

    20. However, CBP insisted that a “zero tolerance policy” would be enforced and that the 3

       containers would all be forfeited.

    21. Specifically, CBP advised ZAAZ that all of the machines in all 3 containers would be

       destroyed.

    22. ZAAZ thereafter engaged in multiple discussions with CBP regarding the destruction.

    23. On October 1, 2018, ZAAZ spoke with CBP, who advised that all of the machines had

       been destroyed.

    24. ZAAZ sent a follow-up email requesting copies of the Destruction Orders and

       Confirmation of Destruction.

    25. CBP responded, stating, “Unfortunately, I cannot release the requested information. I can

       tell you that the below cases both have destruction certificates in the case file.”

    26. However, Plaintiffs learned that, despite the multiple assurances from CBP that the

       machines had been destroyed, the “destroyed” machines were, in fact, being sold on EBAY

       and Amazon.




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    27. Curious as to how this could possibly have happened, ZAAZ attempted, several times, to

       contact CBP to inquire as to how the destroyed machines could have found their way onto

       ecommerce websites.

    28. With respect to the third container, according to CBP, as of September 2018, CBP still had

       the third container in its possession.

    29. All three containers were sent to Miami, Florida.

    30. CBP confirmed that they had the Order of Destruction, Witness Report, and Confirmation

       of Destruction of the other two containers, though they refused to share the documents.

    31. Upon information and belief, CBP designated to URS the responsibility to destroy the

       machines.

    32. Specifically, URS was to destroy the machines in Miami, Florida.

    33. Upon information and belief, URS provided CBP with the destruction certificates

       evidencing their destruction in Miami, Florida.

    34. However, the machines were not destroyed since same were sold, and continue to be sold

       by third parties.

    35. Each container contained 225 machines with a cost value of $91,181.25 each, and

       $273,543.75 in total.

    36. Every one of the machines had been presold to ZAAZ customers at a price of $2,299.99,

       making the loss value $1,552,493.25.

    37. However, the damage to ZAAZ caused by the acts or omissions of URS is much greater

       than the value of the subject machines.




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    38. The loss of the machines created major disruption to the ZAAZ supply chain and order

       fulfillment process and schedule. As a result, cash flow was severely impacted and ZAAZ

       was forced to take several emergency high-interest loans to compensate.

    39. Further, the delivery timeframe communicated to customers at the time of purchase had to

       be extended, which impeded sales results.

    40. The whole situation jeopardized the company as a whole.

    41. Nevertheless, ZAAZ attempted to recoup its losses and recover its business.

    42. However, ZAAZ discovered that its sales suffered – because it was competing against its

       own products which were now on the market.

    43. That is, the machines, which CBP determined could not be sold in the United States and

       which URS attested under path to CBP had been destroyed, were now being offered on

       eBay and Amazon (and likely through other ecommerce sites and third-party retailers) at

       greatly reduced prices.

    44. Again, ZAAZ does not sell to any resellers, only directly to consumers.

    45. As such, there is simply no way that the machines could have gotten into the hands of these

       third parties.

    46. Further, ZAAZ purchased one machine from eBay and one machine from Amazon and

       confirmed from the serial numbers and the presence of the offending UL stamps that the

       machines were indeed from the seized containers that were supposedly destroyed.

    47. Obviously, the fact that the authentic ZAAZ 20K machines were now being offered

       through unauthorized, online resellers at 50%-60% below the ZAAZ MSRP had an

       enormous impact on ZAAZ’s business.

    48. Hundreds of sales were lost to customers.




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    49. These customers were introduced to ZAAZ through its marketing efforts in Costco or

       Sam’s Club.

    50. Due to the actions of URS, these customers then bought discounted machines online

       instead of from ZAAZ.

    51. Hundreds more sales were lost to customers who had bought from ZAAZ and elected to

       return their machine in order to repurchase online at cheaper prices.

    52. ZAAZ has always maintained its premium price and has long since established the ZAAZ

       20K as the premiere WBV machine on the market.

    53. The machines, which were supposed to have been destroyed, were now being offered

       online at discounted prices.

    54. This caused tremendous damage to the reputation of the ZAAZ brand and the perception

       of its value.

    55. ZAAZ lost customers and good will.

    56. ZAAZ further experienced a wave of attrition as several very valuable sales representatives

       ceased working for ZAAZ as a result.

    57. ZAAZ was also threatened with the loss of its contract with Costco, its most valuable retail

       partner, due to the strict rule that products cannot be marketed anywhere else at prices

       below what they are being sold for in Costco.

    58. Several times Costco threatened to cancel its contract with ZAAZ unless the situation could

       be resolved. ZAAZ spent considerable effort mending this relationship.

    59. ZAAZ contacted the online retailers to alert them to the fact that the machines being sold

       on their sites by unauthorized third parties.

    60. Despite these warnings, the sellers persisted in the online offerings.




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    61. The situation caused major losses of revenue and caused further cash flow shortfalls that

       ZAAZ had to make up for by taking crippling high-interest loans.

    62. As a result of the actions of URS, ZAAZ was prevented from advancing on the completion

       and introduction of its next-generation WBV machine and the forward progress of the

       company.

    63. It will take years to repair the ZAAZ reputation and financial stability.

    64. TZONE, was purchaser of the products, lost the value of same as a result of the actions of

       CBP.

                           COUNT I – NEGLIGENCE (ZAAZ CLAIM)

    65. Plaintiffs repeat and re-allege the allegations contained in paragraphs 1 through 64 and

       further states:

    66. Defendant owed a duty to Plaintiffs to destroy or otherwise dispose of the subject

       shipments in a timely and proper manner.

    67. Defendant further owed a duty to Plaintiffs and CBP to accurately advise as to the status

       of the destruction or other disposition of the subject shipments.

    68. Defendant was negligent with respect to the disposition and destruction of the subject

       shipments after their seizure.

    69. Defendant also failed to act reasonable and prudent under the circumstances with respect

       to the disposition and destruction of the subject shipments after their seizure.

    70. Defendant breached its duties to Plaintiff as set forth above.

    71. As a result of Defendant’s conduct, Plaintiff was damaged.




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        WHEREFORE, for the all of the reasons stated herein, Plaintiffs demand judgment in its

 favor and over and against Defendant in the amount of $12,326,036.50, together with prejudgment

 interest, costs, fees, and other and further relief as this Court deems just and proper.

                           COUNT II –NEGLIGENCE (TZONE CLAIM)

    72. Plaintiffs repeat and re-allege the allegations contained in paragraphs 1 through 64 and

        further states:

    73. Defendant owed a duty to Plaintiffs to destroy or otherwise dispose of the subject

        shipments in a timely and proper manner.

    74. Defendant further owed a duty to Plaintiffs and CBP to accurately advise as to the status

        of the destruction or other disposition of the subject shipments.

    75. Defendant was negligent with respect to the disposition and destruction of the subject

        shipments after their seizure.

    76. Defendant also failed to act reasonable and prudent under the circumstances with respect

        to the disposition and destruction of the subject shipments after their seizure.

    77. Defendant breached its duties to Plaintiffs as set forth above.

    78. As a result of Defendant’s conduct, Plaintiffs were damaged.

        WHEREFORE, for the all the reasons stated herein, Plaintiffs demand judgment in its

 favor and over and against Defendant in the amount of $308,891.71, together with prejudgment

 interest, costs, fees, and other and further relief as this Court deems just and proper.

               COUNT III – UNFAIR AND DECEPTIVE TRADE PRACTICE
                              FLA. STAT § 501.202 et seq

    79. Plaintiffs repeat and re-allege the allegations contained in paragraphs 1 through 64 and

        further states:

    80. Plaintiffs are consumers as that term is defined by Florida law.



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    81. URS’s actions as set forth herein constitute deceptive and/or unfair trade practices, as set

        forth in Fla. Stat. § 501.203 and § 501.204.

    82. Specifically, and without limitation, URS issued or caused to be issued Destruction

        Certificates for the machines when they knew that the machines had not been destroyed.

    83. As a direct and proximate result of URS’s actions, Plaintiffs have suffered actual damages.

        WHEREFORE, for all of the reasons stated herein, Plaintiffs demand judgment in its

 favor and over and against Defendant, together with prejudgment interest, costs, fees, and other

 and further relief as this Court deems just and proper.

                                          JURY DEMAND

        Plaintiffs demand a trial by jury on all triable issues.

 Dated: November 2, 2021                                Respectfully Submitted,
        Miami, Florida
                                                        SPECTOR RUBIN, P.A.

                                                By:     /s/ Robert Borak
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